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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION
                                 FRANKFORT
                              Electronically Filed



 COMMONWEALTH OF KENTUCKY, et
 al.,

          Plaintiffs,                              Civil No. 3:21-cv-00055-GFVT
     v.

 JOSEPH R. BIDEN, et al.,

          Defendants.



                                NOTICE OF APPEAL

      PLEASE TAKE NOTICE that all Defendants hereby appeal to the United States

Court of Appeals for the Sixth Circuit from this Court’s Opinion & Order dated Novem-

ber 30, 2021, ECF No. 50, granting Plaintiffs’ motion for a preliminary injunction, ECF

No. 12.

DATED: December 3, 2021                 Respectfully submitted,

                                        BRIAN M. BOYNTON
                                        Acting Assistant Attorney General

                                        BRAD P. ROSENBERG
                                        Assistant Director

                                        /s/ Zachary A. Avallone
                                        ZACHARY A. AVALLONE
                                          DC Bar No. 1023361
                                        JODY D. LOWENSTEIN


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                                      Mont. Bar No. 55816869
                                    Trial Attorneys
                                    U.S. Department of Justice
                                    Civil Division, Federal Programs Branch
                                    1100 L Street NW
                                    Washington, D.C. 20005
                                    Phone: (202) 514-2705
                                    Email: zachary.a.avallone@usdoj.gov

                                    Counsel for Defendants




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                              CERTIFICATE OF SERVICE

       On December 3, 2021, I electronically submitted the foregoing document with the

Clerk of Court for the U.S. District Court, Eastern District of Kentucky, using the Court’s

electronic case filing system. I hereby certify that I have served all parties electronically

or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                  /s/ Zachary A. Avallone
                                                  ZACHARY A. AVALLONE
                                                  Trial Attorney
                                                  U.S. Department of Justice
